              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:02-cr-00105-MR-4


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
              vs.               )              ORDER
                                )
MICHAEL ANTHONY JENKINS,        )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s “Motion

Pursuant to Title: 18 U.S.C. § 3582(c)(2) and Amendments 750, 759, and

782” [Doc. 585].

      On December 2, 2002, the Defendant was charged in a Bill of

Indictment with conspiring to possess with intent to distribute crack cocaine

and with possessing a firearm during and in relation to a drug trafficking

crime. [Doc. 3]. The Defendant pleaded guilty to both counts pursuant to a

written plea agreement in February 2003. [Doc. 139]. He was sentenced to

a total term of 292 months’ imprisonment [Doc. 292], and his conviction and

sentence were affirmed on appeal. United States v. Jenkins, 159 F. App’x

496 (4th Cir. 2005).

                                     1



   Case 1:02-cr-00105-MR-WCM    Document 599    Filed 01/19/16   Page 1 of 3
      On February 11, 2008, the Defendant moved for a reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 706. [Doc.

401]. Because the Defendant’s applicable Guidelines range was based on

his status as a career offender, the Court determined that he was ineligible

for a sentence reduction under Amendment 706 and thus denied the motion.

[Doc. 503].

      Subsequent thereto the United States Sentencing Commission

adopted Amendment 750, which reduced the base offense levels for crack

cocaine offenses.    Amendment 759 made Amendment 750 retroactive

effective November 1, 2011.

      The Defendant now files a second motion for a sentence reduction

pursuant to § 3582(c)(2) and Amendments 750 and 759. 1 Once again,

however, because the Defendant’s offense level is based upon his

classification as a career offender, there is no change in the Guidelines

calculation, and thus Amendment 750 is not applicable to this case.

Accordingly, the Defendant’s motion for a sentence reduction must be

denied.




1 The Defendant also seeks relief pursuant to Amendment 782. [Doc. 585]. The
Defendant’s request for relief under Amendment 782 has already been denied by a
separate Order. [Doc. 597].

                                      2

    Case 1:02-cr-00105-MR-WCM    Document 599    Filed 01/19/16   Page 2 of 3
     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion

Pursuant to Title: 18 U.S.C. § 3582(c)(2) and Amendments 750, 759, 782”

[Doc. 585] is DENIED.

     IT IS SO ORDERED.         Signed: January 18, 2016




                                       3

   Case 1:02-cr-00105-MR-WCM    Document 599          Filed 01/19/16   Page 3 of 3
